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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION - CINCINNATI

 UNITED STATES OF AMERICA,
                   Plaintiff,
                                                       CASE NO.
                                                                                 4C             693
                           v.
                                                       JUDGE       O   COLP
                                                      INDICTMENT
 MARKALTHERR,
                                                      18 U.S.C. § 2251(a) and (e)
                    Defendant.
                                                      18 U.S.C. § 2252A(a)(5)(B) and (b)(2)

                                                      FORFEITURE ALLEGATION



THE GRAND JURY CHARGES:

                                      DEFINITIONS

1.      The term "minor," as defined in 18 U.S.C. § 2256(1) means a person under the age
of eighteen ( 18) years.

2.      The term "sexually explicit conduct," as defined in 18 U.S.C. § 2256(2)(A)(i-v),
means actual or simulated 1) sexual intercourse, including genital-genital, oral-genital,
anal-genital, or oral-anal, whether between persons of the same or opposite sex; 2)
bestiality; 3) masturbation; 4) sadistic or masochistic abuse; or 5) lascivious exhibition of
the anus, genitals, or pubic area of any person.

3.      The term "visual depiction," as defined in 18 U.S.C. § 2256(5), includes
undeveloped film and videotape, data stored on computer disk or by other electronic
means which is capable of conversion into a visual image, and data which is capable of
conversion into a visual image that has been transmitted by any means, whether or not
stored in a permanent format.


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                                       DEFENDANT

4.       MARK ALTHERR, the defendant herein, was a resident of the Southern District
of Ohio.

                                      COUNTS 1-16
                             (Sexual Exploitation of Children)
5.       Paragraphs 1 through 4 of this Indictment are re-alleged and incorporated by
reference in Counts 1-16.

6.      The name "Minor Victim" is the pseudonym of a minor, who was born in March
of 2018, and was 5 and 6 years old at the times charged in the Indictment.

7.      On at least 16 instances, the dates of which are described below, the defendant
sexually exploited Minor Victim by producing visual depictions of Minor Victim
engaging in and assisting another person to engage in sexually explicit conduct for the
purpose of producing a visual depiction of that conduct.

8.      In addition to producing the 16 visual depictions of the Minor Victim, the
materials used had been mailed, shipped, and transported in and affecting interstate or
foreign commerce by any means, including by computer, because the defendant used a
Lexar USB drive, which was manufactured outside the State of Ohio.

9.      On or about the dates set forth below, within the Southern District of Ohio and
elsewhere, the defendant, MARK ALTHERR, did employ, use, persuade, induce, entice,
and coerce a minor, to wit: Minor Victim, to engage in and to assist another person to
engage in sexually explicit conduct for the purpose of producing a visual depiction of
such conduct, which visual depiction was produced using materials that have been
mailed, shipped, and transported in and affecting interstate and foreign commerce by any




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means, including by computer. Each use of the Minor Victim to produce a visual
depiction, as set forth below, constitutes a separate count of the Indictment.



 Count          Date                    Name                  Type           Device
   1       May 30, 2023         20230530_215743.jpg          Image         LexarUSB
   2       June 23, 2023       20230623 _ 154932.mp4         Video         LexarUSB
   3       June 23, 2023       20230623 _ 154616.mp4         Video        LexarUSB
   4       June 23, 2023       20230623 _ 154 721.mp4        Video        LexarUSB
   5       June 23, 2023       20230623 _ 154353.mp4         Video        LexarUSB
   6       July 17, 2023       20230717_154445.mp4           Video        LexarUSB
   7       July 17, 2023       20230717_l 11646.mp4          Video        LexarUSB
   8       July 17, 2023       20230717_ 112033.mp4          Video        LexarUSB

   9       July 17, 2023       20230717_112342.mp4           Video        LexarUSB

  10       July 17, 2023       20230717_111824.mp4           Video        LexarUSB

  11       July 17, 2023       20230717_111748.mp4           Video        LexarUSB

  12       July 17, 2023       20230717_ 112302.mp4          Video        LexarUSB

  13       July 17, 2023       20230717_ 111602.mp4          Video        LexarUSB

  14       July 17, 2023       20230717_112907.mp4           Video        LexarUSB

  15       June 20, 2024       20240620_ 205651.mp4          Video        LexarUSB

  16       June 20, 2024       20240620_ 205602.mp4          Video        LexarUSB



       All in violation of Title 18, United States Code, Section 2251(a) and (e).




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                                         COUNT 17
                            (Possession of Child Pornography)
       On or about July 26, 2024, in the Southern District of Ohio, the defendant, MARK
AL THERR, did knowingly possess a computer disk, and other material, to wit: a Lexar
USB drive and a Memorex USB drive that contained an image of child pornography, as
defined in Title 18, United States Code, Section 2256(8)(A), involving a prepubescent
minor and a minor who had not attained 12 years of age, that had been mailed, shipped and
transported using any means and facility of interstate and foreign commerce, and in and
affecting interstate and foreign commerce by any means, including by computer, and which
was produced using materials that had been mailed, shipped and transported in and
affecting interstate and foreign commerce by any means, including by computer.

       All in violation of 18 U.S.C. §§ 2252A(a)(5)(B) and (b)(2).


                             FORFEITURE ALLEGATION

       Upon conviction of any of the offenses set forth in this Indictment, the defendant,
MARK ALTHERR, shall forfeit to the United States, pursuant to 18 U.S.C. § 2253(a):
(1) any visual depiction described in section 2251, 225 lA, 2252, 2252A, 2252B, or 2260
of Title 18, United States Code, Chapter 110, or any book, magazine, periodical, film,
videotape or other matter which contains any such visual depiction, which was produced,
transported, mailed, shipped or received in violation of Title 18, United States Code,
Chapter 11 O; (2) any property, real or personal, constituting or traceable to gross profits or
other proceeds obtained from such offense(s); and (3) any property, real or personal, used
or intended to be used to commit or to promote the commission of such offense( s) or any
property traceable to such property, including but not limited to:

       a.   Lexar USB Drive, 64 GB; and

       b.   Memorex USB Drive, 64GB.




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                                   SUBSTITUTE ASSETS

If any of the property described above, as a result of any act or omission of the defendant:

       a.   cannot be located upon the exercise of due diligence;

       b.   has been transferred or sold to, or deposited with, a third party;

       c.   has been placed beyond the jurisdiction of the court;

       d.   has been substantially diminished in value; or

       e.   has been commingled with other property which cannot be divided without

            difficulty,

it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), as incorporated by 18

U.S.C. § 2253(b), to seek forfeiture of any other property of the defendant, up to the value

of the property described above.

                                          A TRUE BILL




                                          GRAND JURY F~ l iRSON




KENNETH L. PARKER
UNITED STATES ATTORNEY



      LLU . MARGEAUX (OH 0098348)
  LE J. HEALEY (OH 0083794)
ASSISTANT UNITED STATES ATTORNEYS




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